                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 SWORDFISH FITNESS OF                               )
 FRANKLIN, INC., ET AL.                             )
                                                    )
 Plaintiffs,                                        )     NO. 3:20-cv-00876
                                                    )
 v.                                                 )     JUDGE CAMPBELL
                                                    )     MAGISTRATE JUDGE NEWBERN
 MARKEL INSURANCE COMPANY,                          )
 and TREY W. SINER, INC.                            )
                                                    )
 Defendants.                                        )

                                          FINAL JUDGMENT

         On September 30, 2021, the Court dismissed Plaintiffs’ claims for declaratory judgment and

breach of the insurance policy with prejudice. (Doc. No. 49). There being no just reason to delay the

entry of final judgment with regard to these claims, final judgment is hereby entered in favor of

Defendants pursuant to Fed. R. Civ. P. 54 and 58.

         The Clerk is directed to close the file.

         It is so ORDERED.

                                                        ____________________________________
                                                        WILLIAM L. CAMPBELL, JR.
                                                        UNITED STATES DISTRICT JUDGE




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